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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                          *          CRIMINAL ACTION NO: 17-201
                                                  *
VERSUS                                            *           SECTION I
                                                  *
LILBEAR GEORGE ET AL.                             *
                                                  *

        MEMORANDUM IN SUPPORT OF JOINT MOTION FOR IMMEDIATE
                 PRODUCTION OF BRADY MATERIAL

       Lilbear George, Curtis Johnson and Chukwudi Ofomata, through undersigned counsel,

respectfully move this Court, pursuant the Fifth, Sixth, and Eighth Amendments to the United

States Constitution, to order the government to produce all Brady material, including impeachment

material, immediately.

   I. Procedural History

       Mr. George, Mr. Johnson and Mr. Ofomata are accused of Conspiracy to Interfere with

Commerce by Threats or Violence (robbery), Interference with Commerce by Threats or Violence

(robbery), and Murder by Firearm During a Crime of Violence (robbery). R. Doc. 237. The crimes

allegedly occurred in December 2013, and the defendants were first charged with them in

November 2017, close to four years later. R. Doc. 23. On August 31, 2018, the government filed

Notices of Intent to Seek Death Penalty. R. Docs. 147-149.

       The defendants have requested all Brady materials on multiple occasions, beginning in

2017 and 2018. Indeed, several motions seeking discovery of Brady materials were litigated over

a year ago. Defendants requested all material favorable and impeachment evidence pursuant to

Brady v. Maryland, 373 U.S. 83, 87 (1963), United States v. Bagley, 473 U.S. 667, 675 (1985),

Kyles v. Whitley, 514 U.S. 419, 433 (1995), and Kirkpatrick v. Whitley, 992 F.2d 491, 497 (5th

Cir. 1993). R. Docs. 335 (Ofomata), 337 (George), 372 (Johnson). In response, the Magistrate
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Judge issued an order reminding the government that “Brady material is any evidence favorable

to the accused ‘where the evidence is material either to guilt or punishment,’” and of its “‘duty to

learn of any favorable evidence known to others acting on the government’s behalf.’” R. Doc.

462 at 7 (citations omitted) (emphasis in the original). To the extent the government had owned

up to having Brady material in its possession, the Magistrate Judge ordered the government to

produce it “no later than seven (7) days from the date of this Order.” Id. at 5, 6 (emphasis in

the original) (dated July 31, 2019).

        The current scheduling order stipulates that Brady material be “provided immediately.” R.

Doc. 952 at 1-2. The material includes “impeachment material.” Id. at 1. 1 The Constitutional Due

Process Requirement of Brady Trumps Jencks Act Disclosure of Prior Statements of Witnesses.

        The Due Process Clause of the Fifth Amendment of the United States Constitution requires

the prosecution to disclose all evidence that favors the defendant which is material to the issue of

guilt or which could impeach the testimony of any witness. Brady v. Maryland, 373 U.S. 83, 87

(1963); Kirkpatrick v. Whitley, 992 F.2d 491, 497 (5th Cir. 1993) (citing United States v. Bagley,

473 U.S. 667 (1985). “Suppression by the prosecution of evidence favorable to an accused upon

request violates due process where the evidence is material either to guilt or to punishment,

irrespective of the good faith or bad faith of the prosecution.” Brady, 373 U.S. at 87; United States

v. Swensen, 894 F.3d 677, 683 (5th Cir. 2018). The Supreme Court has emphasized that

impeachment evidence falls within the Brady rule. United States v. Bagley, 473 U.S. 667, 676-77

(1985); see also Kyles v. Whitley, 514 U.S. 419,433 (1995); Swensen, 894 F.3d at 683.



1
  The current scheduling order also stipulates that Jencks Act and Giglio materials be provided “no later than two
weeks in advance of trial” with the exception of “materials that involve witness security issues,” which are to be
provided the Wednesday before trial commences. Id. at 2. The Court has explained that all impeachment evidence
“falls within the rule of Brady. The scheduling order states that such material ‘will be provided immediately.’” R.
Doc. 1232 (citing R. Doc. 952).

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        The Jencks Act, 18 U.S.C. § 3500, provides that upon motion by the defense, the

prosecution must provide to the defense any statement made by a testifying witness immediately

after the witness's direct testimony. It was enacted following the Supreme Court’s decision in

Jencks v. United States, which held “that the criminal action must be dismissed when the

Government, on the ground of privilege, elects not to comply with an order to produce, for the

accused's inspection and for admission in evidence, relevant statements or reports in its possession

of government witnesses touching the subject matter of their testimony at trial.” 353 U.S. 657, 672

(1957). In reaching its decision, the Court placed considerable reliance upon United States v.

Reynolds, 345 U.S. 1 (1953), which in turn relied upon United States v. Beekman, 155 F.2d 580

(2d Cir. 1946) (Frank, J.) and United States v. Andolschek, 142 F.2d 503 (2d Cir. 1944) (L. Hand,

J.), summarizing the essence of those cases as follows: “The rationale of [those] cases is that, since

the Government which prosecutes an accused also has the duty to see that justice is done, it is

unconscionable to allow it to undertake prosecution and then invoke its governmental privilege to

deprive the accused of anything which might be material to his defense.” Reynolds, 345 U.S. at

12.

        The constitutional requirement of due process underpinning Brady trumps the Jencks

Act. See, e.g., Govt. of Virgin Islands v. Fahie, 419 F.3d 249, 257 (3d Cir. 2005) (“[T]he contours

of Rule 16’s exceptions should be interpreted to minimize conflict with the government’s

constitutional disclosure obligations under Brady. . . . Since the Government was obligated to share

the kind of objective fact evidence contained in the ATF Report with Fahie under the Sixth

Amendment, we will not exempt the government from this obligation under Rule 16(a)(2) in the

absence of language compelling a contrary result”); United States v. Murphy, 569 F.2d 771, 774

(3d Cir. 1978) (“[T]he district court was correct in denying defendant's motions to order the



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government to divulge Jencks material during the suppression hearing. This result, of course, in

no way impairs the government's constitutional obligations under Brady . . . .”); United States v.

Tarantino, 846 F.2d 1384, 1414, n. 11 (D.C. Cir. 1988) (“Of course, under Brady . . . , the

government has additional obligations deriving from the Fifth Amendment to disclose exculpatory

material, and the limitations on discovery contained in the Jencks Act do not lessen those

obligations”). Thus, while the government may not be obligated to produce statements made by

prospective witnesses under the Jencks Act, the government is required to do so if the statements

constitute Brady material. “The jury's estimate of the truthfulness and reliability of a given witness

may well be determinative of guilt or innocence and it is upon such subtle factors as the possible

interest of the witness in testifying falsely that a defendant's life or liberty may depend.” Napue v.

Illinois, 360 U.S. 264, 269 (1959). Evidence which would impeach the testimony of any witness

who testifies at trial is favorable to the accused and must be disclosed upon request. Giglio v.

United States, 405 U.S. 150, 154 (1972).

         This Court has recognized the Fifth Amended Scheduling Order’s requirement that the

government produce impeachment material immediately. In the context of inconsistent statements

of government witness Donnell, the Court ordered that the government produce unredacted copies

of an NOPD report and FBI 302 within two days. R. Doc. 1232 at 44-45 (the reports containing

“impeachment evidence . . . fall within the rule of Brady. The scheduling order states that such

material ‘will be provided immediately.’ Consequently, the government is to produce the reports

in their entirety as soon as is practicable.”). 2 The same is true of any other impeachment material,




2
  In response to the Court’s order, the government provided the same redacted NOPD report provided previously. It
still includes many pages of redacted material. In subsequent communication, the government contended that the
Court’s order only applied to Donnell’s statements in the NOPD report. This sidesteps the issue of whether the redacted
content constitutes Brady impeachment material. For example, the government has redacted the name of a witness
who came forward to give a physical description of an alternate suspect in the case. The witness maintained that person

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including but not limited to contradictory direst statements of witnesses, contradictory summarized

statements of witnesses, government agreements with witnesses pertaining to their testimony, prior

convictions of witnesses, and extrinsic impeachment evidence available to the government. 3

    II. The Government has Failed to Produce a Significant Amount of Brady Evidence.

         The November 2019 non-capital trial of codefendants Brumfield and Esteves revealed the

existence of significant impeachment evidence that has not been turned over by the government.

While the defendants have transcripts of witness testimony at trial, they do not have other materials

with which the witnesses were impeached. For example, during the course of informant Cedric

Wade’s testimony, he was impeached with a signed memorandum of understanding with the

government, a return on a search warrant of his apartment indicating that drugs and an assault rifle

were seized in a search of his apartment, his grand jury testimony, and an FBI 302. R. Doc. 721 at

40-41, 62, 69, 71, 77, 78. 4 Other witnesses impeached with material in the government’s

possession yet not turned over to the defense included, but were not limited to: Jamell Hurst, Lydell

Hinton, India Bell and Steven Rayes. There may be additional witnesses as well who did not testify

at the codefendants’ trial. The defense can only guess as to the materials that exist, while the

government can easily identify them and turn them over.




resembled the police artist composite sketch of one of the perpetrators of the robbery as described by another witness.
See Exhibit 1, NOPD Report at LOOMIS 102. The witness’s name should not be redacted from the report.
3
 See R. Doc. 1232 at 33 (“the Court reiterates the U.S. Magistrate Judge’s previous conclusion that the government’s
obligations with respect to Brady are not limited to the U.S. Attorney’s Office . . .”).
4
  As the Court is aware, the government maintained that revealing the identity of several witnesses posed security
concerns to the witnesses. Cedric Wade was one of those witnesses. This argument no longer applies to witnesses
called at the November 2019 trial. To the extent it applies to additional witnesses to be called at the capital trial, this
Court recently ordered that the government “immediately request a status conference to raise the issue” of “witness
security concerns.” R. Doc. 1232 at 45.

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       WHEREFORE, for the foregoing reasons, the defendants respectfully request that this

Court order the government to produce all Brady material, including impeachment material,

immediately.



                                      Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

         I hereby certify that a that a true and correct copy of the foregoing document has been filed
with the Clerk of the Court by using the CM/ECF System which will send a notice of electronic
filing to all counsel of record on this 13th day of November, 2020.


                                               s/ Sarah L. Ottinger_____
                                               Sarah L. Ottinger




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